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                      [Oral Argument Not Yet Scheduled]
                              ________________
                                    No. 25-5217

                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    J.G.G., et al.,

                             Plaintiffs–Appellees,

                                          v.

                DONALD J. TRUMP, in his official capacity as
                   President of the United States, et al.,

                            Defendants–Appellants.


               ON APPEAL FROM THE UNITED STATES
         DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                          No. 1:25-cv-00766
                        Hon. James E. Boasberg
___________________________________________________________________

                   RESPONSE IN OPPOSITION TO
       EMERGENCY MOTION FOR A STAY PENDING APPEAL
___________________________________________________________________

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                    INTRODUCTION AND BACKGROUND

      Plaintiffs have now been held incommunicado in the notorious Salvadoran

CECOT prison—widely known for brutalizing and torturing its detainees—for more

than 90 days. The government does not dispute the district court’s holding that the

Plaintiffs’ removals were unconstitutional, as they were given no meaningful notice

of the allegations of Tren de Aragua (“TdA”) membership, much less an opportunity

to contest them. ECF No. 148 (“Op.”) at 39. Indeed, the Supreme Court recently

stated that even 24 hours’ notice “surely does not pass muster,” A.A.R.P. v. Trump,

145 S. Ct. 1364, 1368 (2025), yet Plaintiffs received far less. To the extent that

Plaintiffs received a written notice, it was provided to them while they were being

transported to the planes. And it stated pointedly that “no review” was available.

      Since then, evidence has emerged, including from the government itself, that

few of the individuals sent to CECOT had any criminal convictions, much less

serious ones. Evidence has likewise emerged that many, if not the overwhelming

majority, were not members of TdA, and that the untested allegations against them

were based on “flimsy, even frivolous accusations,” Op. 4—largely consisting of

tattoos that experts have testified have no bearing on gang membership, see id.

(citing declarations). The need for relief is thus especially acute.

      Faced with a clear constitutional violation, and the prospect of Plaintiffs

languishing in a notorious foreign “mega prison” based on nothing more than the

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government’s say-so, the district court held that Plaintiffs must have some

opportunity to contest the government’s allegations, and that the government must

“facilitate” that opportunity. In an abundance of judicial restraint, the district court

did not, however, order the government to take any concrete steps, but simply to

“submit proposals” for how it would proceed. Op. 67. The government now seeks

emergency relief from an order that does nothing more than require it to propose

how the constitutional injuries it inflicted can be remedied.

      The government initially argues that the district court could only act in habeas,

and that because the court concluded it lacked habeas jurisdiction (due to the absence

of “constructive custody”), it had no jurisdiction, in equity or otherwise, to rule on

the conceded due process violation. The government then contends that even

assuming jurisdiction in equity exists, the district court exceeded its authority by

ordering the government to facilitate Plaintiffs’ ability to proceed in habeas (or by

ordering the government to submit proposals for how to do so). Setting aside the

premature nature of the government’s appeal and emergency request for

extraordinary relief, the government’s two arguments are substantively wrong and

squarely at odds with Supreme Court precedent.1


  1
   The district court’s conclusion that the United States lacks constructive custody
over the Plaintiffs at CECOT was incorrect. But because the court also correctly
concluded that it could rule on Plaintiffs’ due process claim in equity, this Court
need not address the custody issue at the stay stage.

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      Defendants’ first argument—that Plaintiffs’ due process claim could only be

brought in habeas—would be risible if it were not so extreme. Because the

government rushed Plaintiffs out of the country, they had zero opportunity to file a

habeas petition. So they could not have raised their due process claim by that means

in advance of their removal. Yet the government now argues that Plaintiffs are stuck:

according to the government, habeas is the only basis for raising a due process claim,

and habeas is unavailable for those the government swiftly disappeared to CECOT.

Under that logic, the government can sweep anyone off the streets, deny them any

opportunity to file a habeas petition, and send them to a foreign prison—and no one

could ever claim a violation of due process.

      Defendants argue, however, that the Supreme Court effectively blessed such

a scenario in J.G.G. when it held that challenges to the AEA Proclamation could be

brought only in habeas. But Defendants ignore that the Court unanimously held that

individuals must first receive due process, with meaningful notice, precisely so they

could in fact bring a habeas challenge to their AEA designation. Trump v. J.G.G.,

145 S. Ct. 1003, 1006 (2025). Defendants also ignore that, in making that due

process pronouncement, the Court was acting under equity jurisdiction, not habeas.

Id. (analyzing Plaintiffs’ procedural due process claim in equity). Even more to the

point, the Supreme Court followed its J.G.G. decision with A.A.R.P., where the

government argued that class-action habeas challenges to the AEA, even to raise a

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due process notice claim, were inappropriate. Recognizing the catch-22 in the

government’s argument, the Court rejected as “self-defeating” the “notion that the

right to the notice necessary to ‘actually seek habeas relief’ must itself be vindicated

through individual habeas petitions, somehow by plaintiffs who have not received

notice.” A.A.R.P., 145 S. Ct. at 1370 (quoting J.G.G., 145 S. Ct. at 1006).

      Defendants are also wrong that the district court lacks the power to require

them to “facilitate” Plaintiffs’ ability to seek relief in habeas. The Supreme Court in

Abrego Garcia held that a district court may order the government to “facilitate” the

return of a person removed to CECOT, without running afoul of separation-of-

powers or redressability concerns. Noem v. Abrego Garcia, 145 S. Ct. 1017, 1018

(2025). Here, although the district court erred in holding that Plaintiffs did not

sufficiently establish U.S. constructive custody, its reasoning is entirely consistent

with the relief it ordered. Even if Defendants currently lack custody over Plaintiffs,

they can actively seek to facilitate physical or constructive custody to allow Plaintiffs

to pursue their habeas claims. In Abrego Garcia, the plaintiff was also before the

Supreme Court in a non-habeas posture, yet the Court required the government to

facilitate his return—and did so notwithstanding the government’s contention that

the plaintiff was under El Salvador’s control.

      On the equities, Defendants face no irreparable harm—indeed, no harm at all.

At this preliminary stage, the district court has simply ordered them to advise the

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court how they intend to facilitate habeas relief. But even if the district court

eventually requires Defendants to engage diplomatically with El Salvador, the

Supreme Court and the Fourth Circuit in Abrego Garcia have rejected that as a basis

for a stay. In contrast, Plaintiffs’ need for relief is urgent. They are shut off from the

world and are at risk of torture, and even death.

      The Court should not accept the government’s extraordinary argument that it

can whisk away to a foreign prison anyone it unilaterally alleges to be a gang

member and then disclaim the power to facilitate a remedy. The district court

properly recognized that equitable jurisdiction exists here to provide a remedy.

                                    STATEMENT

      The factual and procedural background of this case and its prior iterations are

fully laid out in Judge Boasberg’s opinions and need not be repeated.2 Accordingly,

Plaintiffs highlight only the following points.

      1. The record is replete with evidence that the CECOT prison in El Salvador

is barbaric; prisoners are routinely beaten and tortured, and have little prospect for

release before their timely or premature deaths. See ECF Nos. 102-5 (Bishop Decl.);

102-6 (Goebertus Decl.); 67-21 at 129 (describing conditions).



  2
     Plaintiffs also incorporate by reference their Statement to this Court in their
Response in Opposition to Respondents’ motion for stay pending appeal in J.G.G.
v. Trump, No. 25-5124 (D.C. Cir. Apr. 23, 2025), Doc. No. 2112443.

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      2. Since Plaintiffs’ removal to CECOT, substantial evidence has emerged that

few had criminal convictions, in the United States or in Venezuela,3 and that many

if not most were not in fact associated with TdA, but nevertheless have been confined

indefinitely at this notorious prison, possibly for the rest of their lives. ECF Nos. 67-

10 (Reyes Decl.); 67-13 (Tobin Decl.); 67-15 (Caro-Cruz Decl.); 67-21 at Exhs. 4–

18.

      3. The district court concluded Defendants lacked “constructive custody” over

the CECOT prisoners and that the court therefore lacked statutory habeas

jurisdiction. Although Plaintiffs disagree with that ruling, they note that the court

found it a “close question” and expressly stated that its ruling was based on the

“current record.” Op. 23. That record was incomplete because Defendants failed to

provide full discovery responses. See Pet’rs’ Resp. to Resp’ts’ Jurisdictional

Discovery Submissions & Responses (ECF No. 145). Among other things,

Defendants improperly narrowed the time frame of their responses, refusing to

provide records created prior to March 12 (only three days before Plaintiffs’

summary removal); refused to search for records held by any Defendant other than



  3
     See Cecilia Vega, U.S. Sent 238 Migrants to Salvadoran Mega-prison;
Documents Indicate Most Have No Apparent Criminal Records, CBS News (Apr. 6,
2025), https://perma.cc/5LP3-VKZ8; David J. Bier, 50+ Venezuelans Imprisoned in
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the State Department; unjustifiably narrowed the scope of the document requests;

and improperly asserted privileges to withhold records. See id. at 16–20. If necessary

at a later stage, Plaintiffs will seek more fulsome discovery.

                                    ARGUMENT

      A stay pending appeal is an “extraordinary” remedy, Citizens for Resp. &

Ethics in Wash. v. Fed. Election Comm’n, 904 F.3d 1014, 1017 (D.C. Cir. 2018),

and requires an applicant to (1) make a “strong showing that he is likely to succeed

on the merits” of the appeal; (2) establish that he will be “irreparably injured” absent

a pause while the appeal proceeds; (3) show that a stay will not “substantially injure

the other parties”; and (4) demonstrate that “the public interest” favors a stay, Nken

v. Holder, 556 U.S. 418, 426 (2009) (citation omitted).

I.    Defendants are unlikely to succeed on the merits.

      A.     The district court had equity jurisdiction to rule on Plaintiffs’
             procedural due process claim.

      The district court correctly held that Plaintiffs’ procedural due process claim

need not be brought in habeas and may be brought in equity. Op. 27–31. Its analysis

followed the Supreme Court’s earlier decision in this case, where nine Justices

ruled—in equity, not in habeas—that due process requires Defendants to provide

AEA detainees with meaningful notice and an opportunity to be heard prior to

removal. J.G.G., 145 S. Ct. at 1005 (discussing plaintiffs’ voluntary dismissal of

their habeas claim); id. at 1006 (holding that “notice must be afforded within a
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reasonable time and in such a manner as will allow [AEA detainees] to actually seek

habeas relief in the proper venue before such removal occurs”). Because the

Supreme Court has already issued a procedural due process ruling outside of habeas

in this case, the district court’s holding was proper.

      That is not all. The Court recognized in a subsequent AEA case in which the

government tried again to remove individuals without adequate notice (there, 12–24

hours) that the right to challenge one’s AEA designation by habeas is only

meaningful if one is provided advance notice and time to file a petition. A.A.R.P.,

145 S. Ct. at 1370 (rejecting as “self-defeating” the “notion that the right to the notice

necessary to ‘actually seek habeas relief’ must itself be vindicated through individual

habeas petitions, somehow by plaintiffs who have not received notice” (quoting

J.G.G., 145 S. Ct. at 1006)). The Court’s point is as basic as it is simple. While

detainees may challenge their AEA designation only in habeas, a claim of

insufficient notice, time, and opportunity to file the habeas petition cannot itself be

restricted to habeas. If it were otherwise, the government would control whether

anyone ever gets to challenge their designation.

      Only claims that “necessarily imply the invalidity of [one’s] confinement and

removal under the AEA” must be brought in habeas. J.G.G., 145 S. Ct. at 1005.

Although an evidentiary challenge to one’s AEA designation must be brought in

habeas because success would “necessarily imply” the invalidity of confinement and

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ultimate removal pursuant to the AEA, Plaintiffs’ success on their procedural due

process claim does not “necessarily imply” the invalidity of their confinement and

removal. Rather, success would merely grant Plaintiffs an opportunity to pursue an

additional process: the habeas proceeding to which they are constitutionally entitled.

And, of course, the habeas proceeding may or may not restrict the government’s

ability to use the AEA. In short, because the process due to Plaintiffs does not

“necessarily” preclude Defendants’ use of the AEA, Plaintiffs’ procedural due

process claim may proceed in equity.

      As the district court properly recognized, the ability to raise a procedural due

process claim outside of habeas in AEA cases is squarely in line with longstanding

Supreme Court precedent. Plaintiffs’ due process claim is just like other procedural

claims that prisoners routinely bring outside of habeas, because such claims do not

invariably invalidate the substantive punishment. See, e.g., Wilkinson v. Dotson, 544

U.S. 74, 78–83 (2005) (rejecting argument that due process challenge to parole

proceeding may only be brought in habeas; success for plaintiffs would result in a

new hearing, during which authorities would retain discretion to decline to shorten

the prison term); Spencer v. Kemna, 523 U.S. 1, 17 (1998) (claim need not be

brought in habeas if based on “procedural defect” that does not “necessarily imply

the invalidity” of punishment); Edwards v. Balisok, 520 U.S. 641, 648–49 (1997)

(challenge to unconstitutional procedures may be brought outside of habeas; in

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contrast, challenge to alleged decisionmaker deceit and bias necessarily implied the

invalidity of the punishment); Skinner v. Switzer, 562 U.S. 521, 533–34 (2011)

(prisoner deprived of DNA testing may bring that claim outside of habeas because

the results would not “necessarily” be exculpatory); Davis v. U.S. Sentencing

Comm’n, 716 F.3d 660, 666 (D.C. Cir. 2013) (prisoner may bring challenge to

Sentencing Guidelines outside of habeas where success would “do no more than

allow [the challenger] to seek a sentence reduction, which the district court retains

the discretion to deny”); Anyanwutaku v. Moore, 151 F.3d 1053, 1055 (D.C. Cir.

1998) (challenge to date for parole eligibility hearing need not be brought in habeas

because parole decisions were “entirely discretionary,” without “guarantee that

[prisoner] would have been released any earlier”).

      Here, as the Supreme Court recognized, meaningful notice is a precondition

to habeas review. See J.G.G., 145 S. Ct. at 1006. Thus, it would make no sense to

require Plaintiffs to bring their claim for notice in habeas—because their very ability

to seek habeas was defeated by the lack of notice. See A.A.R.P., 145 S. Ct. at 1370.

It would mean, as Judge Boasberg correctly noted, that the government could

“snatch anyone off the street, turn him over to a foreign country, and then effectively

foreclose any corrective course of action.” Op. 67; see also Abrego Garcia v. Noem,

2025 WL 1135112, at *2 (4th Cir. Apr. 17, 2025) (Wilkinson, J.) (expressing




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concern about “the abrogation of habeas corpus through the transfer of custody to

foreign detention centers”).

      Defendants seek support in Justice Scalia’s dissent in Hamdi v. Rumsfeld, 542

U.S. 507, 557 (2004), for the unremarkable proposition that “‘due process rights

have historically been vindicated by the writ of habeas corpus.’” Mot. 12; see also

id. (quoting Brown v. Davenport, 596 U.S. 118, 128 (2022), which in turn quotes the

same dissent in Hamdi). But Justice Scalia was speaking only to the importance of

the Great Writ. His observation says nothing about whether due process claims must

be brought in habeas, let alone whether Plaintiffs’ due process claim here—seeking

an opportunity to pursue a habeas petition—must itself be brought in habeas.

      Defendants additionally argue that “the point of” Plaintiffs’ due process claim

is to “challenge the validity of plaintiffs’ removal.” Mot. 13. However, as explained,

Plaintiffs’ success on their due process claim would merely give them the chance to

file a habeas petition. It would not by itself invalidate Defendants’ use of the AEA.

Straining for analogies, Defendants argue that due process challenges to “unfair”

criminal trials must be brought in habeas. See Mot. 13. But this is true only where

the challenge would necessarily invalidate the conviction, as Defendants’ own case

explains. See Mack v. City of Chicago, 723 F. App’x 374, 374–76 (7th Cir. 2018)

(where plaintiff alleged that detectives’ “use of torture” to obtain “fabricated

evidence against him” violated his right to due process, success on that claim

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“necessarily would impugn the validity of his conviction”). Regardless, the analogy

is inapt. Plaintiffs are not somehow arguing that their future habeas proceedings

were unfair. Instead, they are seeking to vindicate their due process right to obtain

an opportunity for a habeas proceeding—making this case like Wilkinson, Skinner,

Davis, and Anyanwutaku. 4

      It also bears emphasis that the district court did not (contrary to Defendants’

suggestion) order Defendants to return Plaintiffs to the territorial United States. Op.

67; contra Mot. 13 (arguing that the district court required Defendants to “undo[]”

the removal). The district court may conclude that Defendants can “facilitate” habeas

petitions by, for example, asserting physical or constructive custody over Plaintiffs

outside the United States. But even if Defendants are eventually ordered to return

Plaintiffs to the United States to facilitate habeas petitions, that decision would not


  4
    Defendants’ reliance (Mot. 13) on I.M. v. U.S. Customs & Border Protection, 67
F.4th 436, 443 (D.C. Cir. 2023), is likewise misplaced. There, the Court interpreted
a provision of the Immigration and Nationality Act that authorized habeas review of
certain immigration determinations. Id. The Court concluded that custody was
required where the case was proceeding solely in habeas and the statute specified
certain factual determinations could be challenged in habeas, id. at 440, but nothing
in the decision or the INA would require Plaintiffs’ procedural due process claim
here to be brought in habeas.
   Defendants also cite Early v. Blankenship, 221 F.3d 1342 (8th Cir. 2000)
(unpublished table decision), Mot. 14, where the court required a due process
challenge to disciplinary proceedings to be brought in habeas. But unlike here, the
plaintiff there was not seeking a new or additional process—instead, he sought
damages, which the court held “would necessarily imply the invalidity of [the]
disciplinary result.” 221 F.3d at 1342.
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“necessarily imply” the invalidity of Plaintiffs’ confinement and ultimate removal

under the AEA, J.G.G., 145 S. Ct. at 1005, because the outcome of Plaintiffs’ habeas

petitions is unknown.

      Finally, Defendants incorrectly fault the district court for “develop[ing] a

substitute alternative theory” of a due process claim outside of habeas. Mot. 11.

Plaintiffs squarely raised this claim in their amended complaint, and they argued in

their motion for a preliminary injunction that they could proceed in equity. See Am.

Compl. ¶¶ 87, 95, 101, 142–45 (explaining that due process “is a precondition to the

effective exercise of habeas rights” and thus the claim “lies outside of habeas”);

Pet’rs’ PI Mot., ECF No. 102-1 at 9–10 (“In the alternative, the Court has non-habeas

jurisdiction to order Respondents to facilitate Petitioners’ return to the United States,

just as the Supreme Court ordered in Abrego Garcia.”). This case is thus nothing

like United States v. Sineneng-Smith, 590 U.S. 371, 377 (2020), contra Mot. 11,

where the plaintiff never “so much as hint[ed]” at an overbreadth claim prior to the

court of appeals raising it. See also 590 U.S. at 376, 380 (noting that “[t]he party

presentation principle is supple, not ironclad”).

      B.     The district court has the power to order Defendants to facilitate
             Plaintiffs’ ability to seek habeas relief.

      The district court plainly has the power to require Defendants to “facilitate”

Plaintiffs’ ability to seek relief in habeas. Defendants’ arguments to the contrary,


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Mot. 15–21, are either foreclosed by the Supreme Court’s decision in Abrego Garcia

or fail on their own terms.

      In Abrego Garcia, which Defendants’ stay motion addresses only in a single

footnote, the government argued strenuously that the district court had no power to

order it to effectuate or even “facilitate” the return of the plaintiff because the United

States lacked control over CECOT prisoners. Specifically, the government argued

that Abrego Garcia was “under foreign control,” contending that (1) Abrego Garcia

“cannot be returned to the United States unless the Government of El Salvador

releases him”; (2) “El Salvador has its own legal rationales for detaining members

of criminal associations and foreign terrorist groups”; and (3) even “requesting

release by El Salvador” would require “negotiations with the foreign sovereign that

is currently holding Abrego Garcia” in violation of the executive’s foreign affairs

power. Appl. to Vacate Inj., Noem v. Abrego Garcia, 2025 WL 1038907, at *13

(“Abrego Garcia Gov’t Appl.”); Reply in Supp. of Appl. to Vacate Inj., Noem v.

Abrego Garcia, 2025 WL 1101707, at *2–3, *5 (emphasis added) (“Abrego Garcia

Gov’t Reply”). Despite these arguments, the Supreme Court affirmed the district

court’s authority to require the government to “facilitate Abrego Garcia’s release

from custody in El Salvador and to ensure that his case is handled as it would have

been had he not been improperly sent to El Salvador.” 145 S. Ct. at 1018.




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      On remand, the government dragged its feet, arguing that it need only remove

domestic barriers to Abrego Garcia’s return. In support of that argument, it filed a

declaration stating that Abrego Garcia was detained at CECOT “pursuant to the

sovereign, domestic authority of El Salvador.” Abrego Garcia, No. 8:25-cv-00951

(D. Md.), ECF No. 79 at 6 n.3 (quoting Decl. of Michael Kozak). That declaration

is strikingly similar to the declaration that the district court relied upon here. See Op.

22; Kozak Decl., ECF No. 129 (detention of those at CECOT is a matter “within the

legal authority of El Salvador”). Nevertheless, the district court in Abrego Garcia

confirmed that the government must “take the steps available to them toward aiding,

assisting, or making easier Abrego Garcia’s release from custody in El Salvador and

resuming his status quo ante.” 348 F.R.D. 589, 592 & n.1 (D. Md. 2025) (citing

examples of the U.S. government’s active facilitation of the return of improperly

removed noncitizens). The government appealed that ruling to the Fourth Circuit,

which denied its motion for a stay pending appeal. See Abrego Garcia, 2025 WL

1135112, at *1 (“‘Facilitate’ is an active verb.”).

      Yet here, Defendants have refused even to submit a proposal with whatever

steps they could pursue to facilitate jurisdiction over Plaintiffs’ habeas petitions. The

government’s claim that an order requiring even this minimal step is an affront to

separation-of-powers principles cannot be squared with the Supreme Court’s ruling

in Abrego Garcia. As noted, the government made an identical argument in that

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case, claiming that even the mere act of “requesting release” would intrude on the

executive’s foreign-affairs power, because “courts cannot order the Executive to

conduct the country’s foreign relations in a particular way.” Abrego Garcia Gov’t

Reply, at *3–5. Yet the Court not only required the government to facilitate the

return, but to “ensure that his case is handled as it would have been had he not been

improperly sent to El Salvador,” and “share what it can concerning the steps it has

taken.” 145 S. Ct. at 1018. Here, the district court merely asked Defendants for a

plan and, out of an abundance of restraint, did not require any specific steps at this

initial stage, Op. 67, making the government’s argument premature, at best.

      Defendants contend that the district court’s remedy is “internally

contradictory,” arguing that “[b]ecause the Government lacks constructive custody,

the Government cannot facilitate plaintiffs’ ability to file for habeas.” Mot. 16. But

again, that argument ignores Abrego Garcia, where the Supreme Court required the

government to facilitate return without making a finding that the United States had

constructive custody or control of the CECOT prisoners—and did so over the

government’s objection that it lacked control over detainees in El Salvador.

      In any event, the district court’s rulings are not contradictory. The court

concluded that the United States lacked constructive custody because the “current

record” contains insufficient evidence that the United States has control over their

detention. Op. 23. Even assuming that the district court’s custody conclusion is

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correct (which Plaintiffs dispute), Defendants can readily “facilitate” Plaintiffs’

habeas petitions by making efforts to assert physical or constructive custody over

them. “Facilitation” does not require Defendants to have complete control over

Plaintiffs’ detention—or anything close to it—as the Supreme Court’s decision in

Abrego Garcia makes clear.

      And now, the U.S. government has returned Mr. Abrego Garcia to the United

States. See Defs.’ Reply in Support of Notice of Compliance, Abrego Garcia v.

Noem, No. 8:25-cv-00951 (D. Md. June 10, 2025) (ECF No. 194). Defendants make

only a half-hearted effort to minimize this fact, observing that Abrego Garcia was

returned to the United States after the U.S. government “presented El Salvador with

an arrest warrant.” Mot. 20 n.3. But notably, Defendants do not claim that he was

formally extradited pursuant to a treaty. 5 The U.S. government’s “present[ation]” of

an arrest warrant to El Salvador is fundamentally a U.S. request for Abrego Garcia’s

return—showing that Defendants can likewise request custody or constructive

custody over Plaintiffs to facilitate their ability to bring habeas petitions.

      Taking a different tack, Defendants assert that Plaintiffs cannot satisfy Article

III’s redressability requirement, claiming that that the “prospect of ‘facilitation’ is



  5
    Cf. Dep’t of Justice, Press Release (Aug. 10, 2022), https://perma.cc/7YPB-
37FU (extradition “formally authorized by the Supreme Court of Justice of El
Salvador”).

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too speculative to confer standing on plaintiffs to seek an injunction on due-process

grounds.” Mot. 21. But the Supreme Court’s decision in Abrego Garcia answers this

argument, too. There, the government represented that Abrego Garcia could not be

returned “unless the Government of El Salvador releases him,” Abrego Garcia Gov’t

Appl. at *13—and the Court still ordered the facilitation of his return. Defendants

also claim, incorrectly, that Plaintiffs “provided no facts suggesting that El Salvador

would likely transfer custody if a court ordered the United States to facilitate such a

transfer.” Mot. 19–20. In fact, Plaintiffs pointed to extensive evidence of ongoing

U.S. influence over Plaintiffs’ detention, including President Trump’s assertion that

he could return Mr. Abrego Garcia with a phone call, and additional evidence about

the nature of the U.S.–El Salvador agreement and the payment terms. See, e.g.,

Pet’rs’ Sealed Response, ECF No. 145; Fritz Farrow, Trump says ‘I could’ get

Abrego Garcia back from El Salvador, ABC News (Apr. 29, 2025),

https://perma.cc/57A9-6AQY; Nayib Bukele (@nayibbukele), X.com (Mar. 16,

2025), https://x.com/nayibbukele/status/1901245427216978290 (the United States

is paying to detain TdA members at CECOT “for a period of one year (renewable)”),

ECF No. 102-14 at Exh. 9. 6



  6
    Defendants cite Gul v. Obama, 652 F.3d 12, 18 (D.C. Cir. 2011), Mot. 20, to
imply that Plaintiffs’ injuries are not “traceable” to Defendants. But there, the
plaintiffs claimed they were injured by foreign countries’ imposition of “collateral
consequences” on them. Gul, 652 F.3d at 15–16. Here, in contrast, Plaintiffs’
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       Finally, Defendants argue there is no “ongoing” or “imminent injury”

justifying prospective relief. Mot. 21 (citing Animal Legal Def. Fund, Inc. v. Vilsack,

111 F.4th 1219, 1227 (D.C. Cir. 2024)). But Plaintiffs’ injuries are plainly ongoing:

they are facing grave harm and continue to be denied the process to which they are

constitutionally entitled. As the district court held, an injunction barring deprivation

of a plaintiff’s rights is a proper remedy for a procedural due process violation. See

Op. 36 (citing Ray v. Foltz, 370 F.3d 1079, 1085 n.8 (11th Cir. 2004), and U.S. Pub.

Int. Rsch. Grp. v. Atl. Salmon of Maine, LLC, 339 F.3d 23, 33 (1st Cir. 2003)).

II.    The equities weigh heavily against a stay.

       None of the other stay factors warrant the exceptional relief of a stay pending

appeal. See Nken, 556 U.S. at 434. The government faces no irreparable harm

because none of the actions it purports to challenge have in fact been ordered.

Indeed, the government’s claims of injury are both premature and wildly hyperbolic.

See Mot. 21 (claiming the district court’s order could force the United States “to

engage in military actions”). Defendants gesture at the supposed injury of being

required to propose steps that would “facilitate” Plaintiffs’ ability to seek habeas

relief, id., but that is no injury at all. Indeed, it is an even more preliminary step than

the facilitation order the Supreme Court affirmed in Abrego Garcia. 145 S. Ct. at


injuries—the deprivation of their due process rights—are directly traceable to
Defendants.

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1018. Plaintiffs, on the other hand, remain detained in one of the world’s most brutal

prisons and stand to suffer grave injuries if the district court’s proceedings are put

on hold pending yet another interlocutory appeal.

      Defendants argue that the district court’s order could (eventually) require

them to engage with the Salvadoran government diplomatically, Mot. 22, but the

Supreme Court and Fourth Circuit have already roundly rejected that claim as

sufficient basis for a stay. See Abrego Garcia, 145 S. Ct. at 1019; Abrego Garcia,

2025 WL 1135112, at *1. Likewise, the government speculates that a future order

requiring facilitation could “diminish” the United States’ “reliability as a partner in

fighting foreign terrorist organizations.” Mot. 22. But through their claims, Plaintiffs

seek to establish that the government wrongly designated them as members of TdA,

as it rushed to deport people to El Salvador. See ECF 102-1 at 5; see also ECF 67-1

at 3–7; Op. 4–5. If that showing ultimately undermines the government’s

“reliability” by confirming that it sent many innocent people to El Salvador, it is an

injury entirely of the government’s own making, traceable to the due process

violations it now concedes. And again, that argument is disposed of by Abrego

Garcia.

      By contrast, Plaintiffs’ ability to seek relief—and to challenge their

designation as “alien enemies”—is a matter of urgent importance to the members of

Plaintiffs’ class, especially given the evidence that few had criminal convictions and

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many if not most were not TdA members. See Bishop Decl., ECF No. 102-5;

Goebertus Decl., ECF No. 102-6; Huisha-Huisha v. Mayorkas, 27 F.4th 718, 733

(D.C. Cir. 2022) (irreparable harm exists where petitioners “expelled to places where

they will be persecuted or tortured”); A.A.R.P., 145 S. Ct. at 1368 (“where it is

alleged that detainees face indefinite detention” in a prison in El Salvador,

“detainees’ interests at stake are accordingly particularly weighty”).

      The public interest also counsels strongly against a stay. The public has an

important interest in the government’s compliance with due process, especially as

the government continues to defend its use of the AEA to detain and remove

hundreds more people under this wartime authority. And the public would suffer a

real injury from any suggestion that the government can illegally remove people to

a notorious prison in El Salvador, pay millions of dollars to ensure their ongoing

imprisonment abroad, and then falsely claim to be powerless to facilitate any

remedy. The same lawless shell game could be used against any other person or

group that Defendants declare an “enemy.” As Judge Wilkinson pointedly noted: “If

today the Executive claims the right to deport without due process and in disregard

of court orders, what assurance will there be tomorrow that it will not deport

American citizens and then disclaim responsibility to bring them home?” Abrego

Garcia, 2025 WL 1135112, at *2.




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                                CONCLUSION

      The Court should deny the requested stay.

 Dated: June 16, 2025                       Respectfully submitted,

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      I hereby certify that on June 16, 2025, I electronically filed the foregoing

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